Case 1:03-md-01570-GBD-SN   Document 10602-2   Filed 12/09/24   Page 1 of 8




                            Exhibit 191
    Plaintiffs’ Corrected Averment of Jurisdictional Facts and
Evidence and/or Statement of Facts as to Defendant Al Rajhi Bank
                       Pursuant to Rule 56.1
                                                                                              Al Rajhi Bank 30(b)(6)
     Case 1:03-md-01570-GBD-SN              Document 10602-2   Filed 12/09/24   Page 2 of 8         Galloway
               INTERNATIONAL ISLAMIC RELIEF ORGANIZATION ACCOUNTS AT AL RAJHI BANK                     ARB 3
                                                                                                 5/11/23 Carrie Campbell, RDR



Account Name (283 accounts)                         Account Number       Starting Bates Number
IIRO - Medication Endowment                         SA[REDACTED]0000           ARB 12097
IIRO/Riyadh                                         SA[REDACTED]0006           ARB 24653
IIRO - Jamean Authority                             SA[REDACTED]0009           ARB 28847
IIRO - Expenses                                     SA[REDACTED]0018            ARB 4098
IIRO - Khafji                                       SA[REDACTED]0041            ARB 1705
International Islamic Relief Organization           SA[REDACTED]0122           ARB 28141
Islamic Relief Organization/Jeddah                  SA[REDACTED]0200           ARB 26348
IIRO                                                SA[REDACTED]0202            ARB 3868
Islamic Relief Organization                         SA[REDACTED]0339           ARB 28686
Islamic Relief Organization/Jeddah                  SA[REDACTED]0617           ARB 28590
IIRO Kosovo Reconstruction                          SA[REDACTED]0661            ARB 1443
Islamic Relief Organization                         SA[REDACTED]0966           ARB 26506
IIRO - Zakat to Muslims of Bosnia & Herzegovina     SA[REDACTED]0999            ARB 5295
IIRO                                                SA[REDACTED]1009           ARB 10327
IIRO Office                                         SA[REDACTED]1103            ARB 2112
IIRO                                                SA[REDACTED]1104            ARB 1544
IIRO - Donations                                    SA[REDACTED]1119            ARB 2724
Islamic Relief Organization/Najran                  SA[REDACTED]1130           ARB 26550
IIRO - General donations                            SA[REDACTED]1255           ARB 28539
Islamic Relief Organization/Jeddah                  SA[REDACTED]1500           ARB 28134
IIRO                                                SA[REDACTED]1577            ARB 1625
IIRO/Jeddah                                         SA[REDACTED]1612           ARB 26178
IIRO - General Donations                            SA[REDACTED]1624            ARB 2934
IIRO                                                SA[REDACTED]2002            ARB 4402
IIRO - Incessant Knowledge, Jeddah                  SA[REDACTED]2006            ARB 9874
IIRO - Eastern Region                               SA[REDACTED]2008            ARB 6179
IIRO - Riyadh                                       SA[REDACTED]2027           ARB 12007
IIRO - Establishment                                SA[REDACTED]2028           ARB 13053
Islamic Relief Organization/Jeddah                  SA[REDACTED]2067           ARB 27449
IIRO - BURAHDAH                                     SA[REDACTED]2085           ARB 13055
IIRO                                                SA[REDACTED]2402            ARB 5875
IIRO - Jeddah                                       SA[REDACTED]2404            ARB 7624
IIRO, Jizan                                         SA[REDACTED]2445            ARB 3357
IIRO/Ras Tanorah                                    SA[REDACTED]2486           ARB 23310
IIRO - Abha                                         SA[REDACTED]2558            ARB 7734
IIRO/Jeddah                                         SA[REDACTED]2707           ARB 25570
IIRO                                                SA[REDACTED]2752            ARB 5728
IIRO's office                                       SA[REDACTED]3116           ARB 10677
IIRO in Al Wadeen                                   SA[REDACTED]3260            ARB 1583
IIRO - Blind Children in Egypt                      SA[REDACTED]3271            ARB 7405
IIRO                                                SA[REDACTED]3287            ARB 7304
IIRO in Al Darb                                     SA[REDACTED]3304            ARB 3326
IIRO/Regional office/Damam                          SA[REDACTED]3330           ARB 23794
Islamic Relief Organization/Jeddah                  SA[REDACTED]3333           ARB 28592
IIRO - Quran Schools and Classes                    SA[REDACTED]3504           ARB 12009
N/A                                                 SA[REDACTED]3509           ARB 27441
     Case 1:03-md-01570-GBD-SN              Document 10602-2    Filed 12/09/24    Page 3 of 8
               INTERNATIONAL ISLAMIC RELIEF ORGANIZATION ACCOUNTS AT AL RAJHI BANK

Account Name (283 accounts)                          Account Number       Starting Bates Number
IIRO - Al Shabain                                    SA[REDACTED]3738            ARB 1590
IIRO - Employee Fund                                 SA[REDACTED]3783            ARB 7102
IIRO - Bisha                                         SA[REDACTED]3902            ARB 7486
IIRO                                                 SA[REDACTED]3954            ARB 7036
IIRO Bal Bahah Office, Expenses                      SA[REDACTED]4046            ARB 6074
International Islamic Relief Organization            SA[REDACTED]4053           ARB 28541
IIRO Donation Committee for Bosnia & Somalia in Al
Bahah                                                SA[REDACTED]4134            ARB 5726
Islamic Relief Organization                          SA[REDACTED]4371            ARB 28850
IIRO                                                 SA[REDACTED]4404            ARB 4105
IIRO - Abu Arish                                     SA[REDACTED]4665            ARB 7407
IIRO - Relief Organization                           SA[REDACTED]4838            ARB 28862
IIRO - Revenue                                       SA[REDACTED]5005            ARB 8499
IIRO Endowment for Construction of Mosques           SA[REDACTED]5009            ARB 3866
IIRO - Doantions                                     SA[REDACTED]5157            ARB 7500
International Islamic Relief Organization            SA[REDACTED]5201            ARB 28730
IIRO - Zakat                                         SA[REDACTED]5373            ARB 6627
IIRO/Jeddah                                          SA[REDACTED]5381            ARB 24996
IIRO/Jeddah                                          SA[REDACTED]5399            ARB 24713
Islamic Relief Organization/Orphans                  SA[REDACTED]5407            ARB 27463
IIRO - Mosques                                       SA[REDACTED]5415            ARB 13085
IIRO - Wells                                         SA[REDACTED]5423            ARB 7174
IIRO/Jeddah                                          SA[REDACTED]5431            ARB 25779
IIRO/Jeddah                                          SA[REDACTED]5449            ARB 25625
Islamic Relief Organization/Jeddah                   SA[REDACTED]5456            ARB 26237
IIRO - Health                                        SA[REDACTED]5464            ARB 2477
IIRO - Education                                     SA[REDACTED]5472            ARB 5147
IIRO                                                 SA[REDACTED]5500            ARB 5083
IIRO - Our Children Project                          SA[REDACTED]5606            ARB 2438
IIRO - Sanabel Al Khair - Alms                       SA[REDACTED]5623            ARB 1566
IIRO/Al-khamees                                      SA[REDACTED]5700            ARB 23748
IIRO Military City                                   SA[REDACTED]5718            ARB 1458
IIRO - Office Support                                SA[REDACTED]5743            ARB 12095
IIRO - Expenses                                      SA[REDACTED]5744            ARB 7310
IIRO                                                 SA[REDACTED]5886            ARB 3872
IIRO in Jubail, Administrative Expenses              SA[REDACTED]5955            ARB 6136
IIRO - Al Khobar                                     SA[REDACTED]5993            ARB 10757
IIRO - Relief Organization                           SA[REDACTED]6005            ARB 28558
IIRO - Sponsoring orphans                            SA[REDACTED]6007            ARB 28556

IIRO - Da'wah and Propagators Committee in Najran    SA[REDACTED]6305            ARB 1409
IIRO Jeddah Office                                   SA[REDACTED]6645            ARB 13251
IIRO - Al Hofuf                                      SA[REDACTED]6667            ARB 9714
IIRO - Collection Account, Jeddah                    SA[REDACTED]6901            ARB 9862
IIRO - Donations and Alms                            SA[REDACTED]7001            ARB 6165
IIRO - General Donations                             SA[REDACTED]7002            ARB 1377
     Case 1:03-md-01570-GBD-SN               Document 10602-2    Filed 12/09/24    Page 4 of 8
               INTERNATIONAL ISLAMIC RELIEF ORGANIZATION ACCOUNTS AT AL RAJHI BANK

Account Name (283 accounts)                           Account Number       Starting Bates Number
Islamic Relief Organization                           SA[REDACTED]7002           ARB 28845
IIRO - Donation and Alms                              SA[REDACTED]7003            ARB 7043
IIRO - General donations                              SA[REDACTED]7005           ARB 28771
IIRO - Giving Hands                                   SA[REDACTED]7005           ARB 12099
IIRO in the region                                    SA[REDACTED]7005            ARB 4608
IIRO/donations and charity                            SA[REDACTED]7005           ARB 23357
IIRO - General Donations                              SA[REDACTED]7006            ARB 6297
IIRO - General Donations                              SA[REDACTED]7007            ARB 2185
IIRO - General DonationS and Alms                     SA[REDACTED]7007            ARB 6363
IIRO - Dammam                                         SA[REDACTED]7008           ARB 10668
IIRO - General Donations and Alms                     SA[REDACTED]7008            ARB 1445
IIRO - General Donations and Alms                     SA[REDACTED]7009            ARB 7385
IIRO Sanabel al Khair - Zakat                         SA[REDACTED]7010            ARB 4090
IIRO - Zakat                                          SA[REDACTED]7011            ARB 6277
IIRO - in the region Al Dabab Neighborhood, Abha      SA[REDACTED]7013            ARB 7642
IIRO - Zakat                                          SA[REDACTED]7013            ARB 1448
IIRO - Zakat                                          SA[REDACTED]7013            ARB 1577
IIRO - Zakat                                          SA[REDACTED]7013            ARB 3847
IIRO - Zakat                                          SA[REDACTED]7013            ARB 5600
IIRO - Zakat                                          SA[REDACTED]7014            ARB 1594
IIRO - Zakat                                          SA[REDACTED]7015            ARB 1411
IIRO - Zakat                                          SA[REDACTED]7015            ARB 4629
IIRO - Zakat                                          SA[REDACTED]7016            ARB 4571
IIRO - Zakat                                          SA[REDACTED]7016            ARB 5135
IIRO - Almsgiving/Yanbu                               SA[REDACTED]7017           ARB 26314
IIRO - Zakat                                          SA[REDACTED]7018            ARB 1470
IIRO - Zakat                                          SA[REDACTED]7018            ARB 2745
IIRO - Zakat                                          SA[REDACTED]7018            ARB 7430
IIRO - Zakat                                          SA[REDACTED]7019            ARB 6100
IIRO - Immigrants and Victims of Disaster             SA[REDACTED]7021            ARB 7378

IIRO - Immigrants, Refugees and Victims of Disaster   SA[REDACTED]7021            ARB 10017
IIRO Refugee Immigrants                               SA[REDACTED]7022            ARB 3911
IIRO - Immigrants and Refugees, Jeddah                SA[REDACTED]7023            ARB 8342

IIRO Immigrants, Refugees, and Victims of Disasters   SA[REDACTED]7023            ARB 4625
IIRO - Immigrants and Refugees                        SA[REDACTED]7024            ARB 7618
IIRO - Immigrants and Refugees, Al Bahah              SA[REDACTED]7024            ARB 8483

IIRO Immigrants, Refugees, and Victims of Disasters   SA[REDACTED]7025            ARB 1450
IIRO - Immigrants and Refugees                        SA[REDACTED]7027            ARB 10750

IIRO - Immigrants, Refugees and Victims of Disaster   SA[REDACTED]7029            ARB 6273
IIRO - Orphans                                        SA[REDACTED]7030            ARB 7422
IIRO - Orphans, Al Suhaimi, Medina                    SA[REDACTED]7031            ARB 8323
Islamic Relief Organization/Jeddah                    SA[REDACTED]7031            ARB 26610
     Case 1:03-md-01570-GBD-SN             Document 10602-2   Filed 12/09/24   Page 5 of 8
               INTERNATIONAL ISLAMIC RELIEF ORGANIZATION ACCOUNTS AT AL RAJHI BANK

Account Name (283 accounts)                        Account Number       Starting Bates Number
IIRO - Orphans                                     SA[REDACTED]7032           ARB 27451
IIRO - Orphans/Jeddah                              SA[REDACTED]7032           ARB 26516
IIRO Orphans                                       SA[REDACTED]7033            ARB 5297
IIRO - Sanbel Al Khair                             SA[REDACTED]7035            ARB 6964
IIRO - Sanabel al Khair - Orphans                  SA[REDACTED]7036            ARB 7432
Islamic Relief Organization                        SA[REDACTED]7037           ARB 28826
IIRO - Orphans                                     SA[REDACTED]7038            ARB 6410
IIRO - Orphans                                     SA[REDACTED]7039            ARB 7341
IIRO - Orphans                                     SA[REDACTED]7039            ARB 9876
IIRO Orphans                                       SA[REDACTED]7039            ARB 1527
Islamic Relief Organization                        SA[REDACTED]7049           ARB 26557
IIRO - Alms                                        SA[REDACTED]7050            ARB 6401
IIRO, Alms                                         SA[REDACTED]7052            ARB 5139
IIRO - Healing through charity/Jeddah              SA[REDACTED]7054           ARB 26510
IIRO - Alms                                        SA[REDACTED]7054            ARB 7051
IIRO - Alms                                        SA[REDACTED]7055            ARB 8490
IIRO - Alms                                        SA[REDACTED]7056            ARB 6810
IIRO - Alms, Medina                                SA[REDACTED]7056            ARB 9711
IIRO - Alms                                        SA[REDACTED]7057            ARB 6611
IIRO Alms                                          SA[REDACTED]7057           ARB 12136
IIRO Alms                                          SA[REDACTED]7058            ARB 5869
IIRO - Quran Schools and Classes                   SA[REDACTED]7060            ARB 8485
IIRO - Holy Quran Schools and Classes              SA[REDACTED]7062            ARB 1472
IIRO - Quran                                       SA[REDACTED]7062            ARB 6315
IIRO - Quran                                       SA[REDACTED]7063            ARB 6543
IIRO - Quran Schools and Classes                   SA[REDACTED]7064            ARB 6623
IIRO/Jeddah                                        SA[REDACTED]7064           ARB 25447
IIRO - Quran Schools and Classes                   SA[REDACTED]7065            ARB 1579
IIRO Holy Quran                                    SA[REDACTED]7065            ARB 1537
IIRO - Quran Schools and Classes, Riyadh           SA[REDACTED]7066           ARB 10670
IIRO - Quran Schools and Classes                   SA[REDACTED]7069            ARB 6540
IIRO - Sanabel Al Khair                            SA[REDACTED]7070            ARB 1581
IIRO - Sanabel al Khair                            SA[REDACTED]7070            ARB 1821
IIRO - Sanabil Al Khair                            SA[REDACTED]7070            ARB 7376
IIRO Sanabel al Khair                              SA[REDACTED]7070            ARB 5711
IIRO - Sanabel al Khair                            SA[REDACTED]7071            ARB 2824
IIRO Sanabel al Khair                              SA[REDACTED]7072            ARB 1558
Islamic Relief Organization/Jeddah                 SA[REDACTED]7072           ARB 28236
IIRO - Sanabel al Khair                            SA[REDACTED]7073           ARB 28554
IIRO - Sanabel al Khair                            SA[REDACTED]7073            ARB 6253
IIRO - Sanabil Al Khair                            SA[REDACTED]7075           ARB 10775
IIRO - Sanabel al Khair Program                    SA[REDACTED]7076            ARB 1424
IIRO - General Sanabel al Khair                    SA[REDACTED]7077            ARB 1505
IIRO - Sanabil Al Khair, Abha                      SA[REDACTED]7078            ARB 8476
IIRO - Tamra                                       SA[REDACTED]7080            ARB 3339
IIRO - Good Deeds, Dammam                          SA[REDACTED]7092            ARB 8339
      Case 1:03-md-01570-GBD-SN         Document 10602-2     Filed 12/09/24    Page 6 of 8
               INTERNATIONAL ISLAMIC RELIEF ORGANIZATION ACCOUNTS AT AL RAJHI BANK

Account Name (283 accounts)                      Account Number         Starting Bates Number
IIRO Good Deeds                                  SA[REDACTED]7094              ARB 1488
IIRO - Good Deeds                                SA[REDACTED]7096             ARB 10014
IIRO Good Deeds                                  SA[REDACTED]7096              ARB 3892
IIRO - Good Deeds                                SA[REDACTED]7097              ARB 6129
IIRO - Good Deeds                                SA[REDACTED]7098              ARB 3276
IIRO - Good Deeds                                SA[REDACTED]7098              ARB 6249
IIRO - Good Deeds, Jeddah                        SA[REDACTED]7099             ARB 10782
IIRO Good Deeds                                  SA[REDACTED]7099              ARB 3333
IIRO/Jeddah office                               SA[REDACTED]7102             ARB 23438
IIRO - Sunbulat al Shifaa-Healthcare             SA[REDACTED]7103              ARB 3324
IIRO - "Sunbulat al Shifa"/Healthcare            SA[REDACTED]7106              ARB 7256
IIRO                                             SA[REDACTED]7112              ARB 1401
IIRO - The Soviet Union                          SA[REDACTED]7114              ARB 6352
IIRO Domestic Aid                                SA[REDACTED]7130              ARB 4602
IIRO Muslim Minorities                           SA[REDACTED]7148              ARB 3961
IIRO - Winter Supplies                           SA[REDACTED]7155              ARB 5288
IIRO - Afghani Immigrants                        SA[REDACTED]7163              ARB 9622
IIRO - Maternity & Women                         SA[REDACTED]7171              ARB 6617
IIRO/Jeddah                                      SA[REDACTED]7177             ARB 25742
IIRO - Drop of Water                             SA[REDACTED]7180              ARB 1564
IIRO - Drop of Water Program                     SA[REDACTED]7180              ARB 1523
IIRO - Drop of Water, Yanbu                      SA[REDACTED]7181             ARB 10324
IIRO - Drop of Water                             SA[REDACTED]7183              ARB 6348
IIRO - Drop of water                             SA[REDACTED]7184             ARB 27439
IIRO Drop of Water                               SA[REDACTED]7185              ARB 4623
IIRO - Drop of Water                             SA[REDACTED]7187             ARB 13066
IIRO - Drop of water/Jeddah                      SA[REDACTED]7187             ARB 26488
IIRO - Drop of Water                             SA[REDACTED]7188              ARB 8319
IIRO - Drop of Water                             SA[REDACTED]7189              ARB 6563
IIRO - Drop of Water, Jeddah                     SA[REDACTED]7189              ARB 8598
IIRO                                             SA[REDACTED]7197              ARB 1529
IIRO - Useful Knowledge                          SA[REDACTED]7200              ARB 6126
Islamic Relief Organization/Makkah               SA[REDACTED]7201             ARB 26596
IIRO - Useful Knowledge                          SA[REDACTED]7203              ARB 5596
Islamic Relief Organization                      SA[REDACTED]7203             ARB 28801
IIRO - Useful Knowledge Program                  SA[REDACTED]7204              ARB 1478
IIRO - Useful Knowledge                          SA[REDACTED]7205              ARB 1511
IIRO - Useful Knowledge                          SA[REDACTED]7205              ARB 6182
IIRO - Useful Knowledge                          SA[REDACTED]7206              ARB 6251
IIRO Useful Knowledge                            SA[REDACTED]7206             ARB 13061
IIRO - Useful Knowledge                          SA[REDACTED]7207              ARB 6912
IIRO - Useful Knowledge Program                  SA[REDACTED]7209              ARB 1368
IIRO - Muslims of Yugoslavia                     SA[REDACTED]7221              ARB 7086
IIRO/Jeddah                                      SA[REDACTED]7254             ARB 26222
IIRO, Iftar of the Fasting                       SA[REDACTED]7300              ARB 4085
IIRO - Iftar of the Fasting                      SA[REDACTED]7302              ARB 6917
     Case 1:03-md-01570-GBD-SN              Document 10602-2   Filed 12/09/24    Page 7 of 8
               INTERNATIONAL ISLAMIC RELIEF ORGANIZATION ACCOUNTS AT AL RAJHI BANK

Account Name (283 accounts)                         Account Number       Starting Bates Number
IIRO - Iftar/Jeddah                                 SA[REDACTED]7302           ARB 26341
IIRO - Iftar of Fasting People                      SA[REDACTED]7303            ARB 7488
IIRO - Iftar of the Fasting                         SA[REDACTED]7304            ARB 6412
IIRO - Iftar                                        SA[REDACTED]7305            ARB 6561
IIRO - Iftar/Jeddah                                 SA[REDACTED]7305           ARB 26600
IIRO - Iftar of the Fasting                         SA[REDACTED]7306            ARB 5588
IIRO - Iftar of the Fasting                         SA[REDACTED]7308            ARB 7038
IIRO - Animal Sacrifices                            SA[REDACTED]7502            ARB 6359
IIRO - Somalia                                      SA[REDACTED]7551            ARB 9690
IIRO Occupational Training                          SA[REDACTED]7700            ARB 1490
IIRO Da'wah Committee                               SA[REDACTED]7718            ARB 1485
IIRO - Revenue - Da'wah Committee                   SA[REDACTED]7726            ARB 6118
IIRO - Living Water, Jeddah                         SA[REDACTED]7734           ARB 10754
IIRO - Well Digging Revenue                         SA[REDACTED]7742            ARB 6997
IIRO - Women's Committee in Dammam                  SA[REDACTED]7778            ARB 2760
IIRO                                                SA[REDACTED]7798           ARB 10391
IIRO - Kurdish Refugees                             SA[REDACTED]7916            ARB 1373
IIRO - Home in Paradise                             SA[REDACTED]7922            ARB 5530
IIRO Home in Paradise                               SA[REDACTED]7922            ARB 3349
IIRO - BAYTAN FIL JANNAH                            SA[REDACTED]7923           ARB 28788
IIRO - Home In Paradise Program                     SA[REDACTED]7924            ARB 1362
IIRO Home in Paradise                               SA[REDACTED]7924            ARB 3970
IIRO Beta                                           SA[REDACTED]7925            ARB 4400
IIRO Home in Paradise                               SA[REDACTED]7925            ARB 3887
IIRO - BAYTAN FIL JANNAH/Yanbu Industrial City      SA[REDACTED]7926           ARB 26227
IIRO Home in Paradise                               SA[REDACTED]7928            ARB 5706
Islamic Relief Organization                         SA[REDACTED]7929           ARB 28785
Islamic Relief Organization/Najran                  SA[REDACTED]7997           ARB 26491
IIRO - Quran Learning                               SA[REDACTED]8003            ARB 6559
IIRO in Najran                                      SA[REDACTED]8003           ARB 10055
IIRO - Administrative Expenses                      SA[REDACTED]8005            ARB 7264
IIRO/Jeddah office                                  SA[REDACTED]8005           ARB 23863
IIRO - Tabuk                                        SA[REDACTED]8189           ARB 13059
IIRO - Arar                                         SA[REDACTED]8235           ARB 10777
IIRO - Expenses                                     SA[REDACTED]8355            ARB 2678

IIRO - Bosnia and Herzegovina Donation Commission   SA[REDACTED]8514            ARB 7005
IIRO - Development Program                          SA[REDACTED]8522            ARB 5567
IIRO - Regional Office                              SA[REDACTED]8583            ARB 6999
IIRO - Al Qassim Branch                             SA[REDACTED]8648            ARB 10137
IIRO                                                SA[REDACTED]8682            ARB 3920
IIRO                                                SA[REDACTED]8886            ARB 7398
IIRO Projects                                       SA[REDACTED]8980            ARB 3335
IIRO in h/Hafar Al Batin                            SA[REDACTED]8995            ARB 3361
IIRO Urgent Relief Committee                        SA[REDACTED]9009            ARB 4592
IIRO - Jeddah                                       SA[REDACTED]9102            ARB 13851
     Case 1:03-md-01570-GBD-SN          Document 10602-2     Filed 12/09/24    Page 8 of 8
               INTERNATIONAL ISLAMIC RELIEF ORGANIZATION ACCOUNTS AT AL RAJHI BANK

Account Name (283 accounts)                      Account Number         Starting Bates Number
IIRO - Custody                                   SA[REDACTED]9103             ARB 10726
IIRO - Alms                                      SA[REDACTED]9104              ARB 6163
IIRO - For Orphans                               SA[REDACTED]9105              ARB 1514
IIRO                                             SA[REDACTED]9106              ARB 6605
IIRO - Jeddah                                    SA[REDACTED]9199             ARB 10393
IIRO - Administrative Expenses                   SA[REDACTED]9363              ARB 7007
IIRO - Mosques                                   SA[REDACTED]9514              ARB 5581
IIRO - Alms, Hail                                SA[REDACTED]9522              ARB 9864
IIRO - Orphan Sponsorship                        SA[REDACTED]9530              ARB 6910
IIRO/Damam                                       SA[REDACTED]9588             ARB 24054
IIRO - Office Al Rawdah                          SA[REDACTED]9990              ARB 8600
IIRO                                             SA[REDACTED]9992             ARB 12101
IIRO - Jubail Branch                             SA[REDACTED]9998              ARB 2573
IIRO Alms and Donations                          SA[REDCATED]7008              ARB 1389
